
'¡'Christian and Burks, J’s,
concurred in the opinion of Moncure, P.
Staples, J.,
said: He did not sit in the case of Wilkinson v. Hale, 21 Gratt. 75, having been counsel in that case, although the fact is not stated by the reporter. Conceding that case to be a binding authority, he was of opinion the consideration here is so grossly inadequate, the contract so hard and unconscionable, it ought not to be enforced unless it appeared that the conduct of the parties was characterized by the utmost good faith. The evidence, he thought, showed a clear case pi fraud and circumvention practiced upon the purchaser.
Anderson, J., concurred with Staples, J.
Decree affirmed.-
